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From:            Vought, Russell
To:              _DL_CFPB_AllHands
Subject:         Directives on Bureau Activities
Date:            Saturday, February 8, 2025 8:50:28 PM


Dear Colleagues,
I am honored that President Trump designated me as Acting Director of the Bureau on
February 7, 2025. As Acting Director, I am committed to implementing the President’s
policies, consistent with the law, and acting as a faithful steward of the Bureau’s resources. To
that end, I am directing that, effective immediately, unless expressly approved by the Acting
Director or required by law, all employees, contractors, and other personnel of the Bureau
shall:

       Not approve or issue any proposed or final rules or formal or informal guidance.
       Suspend the effective dates of all final rules that have been issued or published but that
       have not yet become effective.
       Not commence, take additional investigative activities related to, or settle enforcement
       actions.
       Not open any new investigation in any manner, and cease any pending investigations.
       Not issue public communications of any type, including publication of research papers
       and compliance bulletins.
       Not approve or execute any material agreements, including related to employee matters
       or contractors.
       Not make or approve filings or appearances by the Bureau in any litigation, other than to
       seek a pause in proceedings.
       Cease all supervision and examination activity.
       Cease all stakeholder engagement.

If you have any questions, please raise issues through your existing management for
consideration by the Acting Director.

Thank you.

Russell T. Vought
